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                     EXHIBIT 1
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

                                                           Case No. 1:20-cv-06239-AMD-SJB

   IN RE: CANON U.S.A. DATA BREACH
   LITIGATION

   This Documents Related To:

   All Actions




                                  SETTLEMENT AGREEMENT

         This Settlement Agreement, dated January 25, 2023, is made and entered into by and

  among: (1) Plaintiffs Michael Finnigan, Kenneth Buchbinder, Brian McCartney, Tyrone Villacis,

  Luis Pichardo, Andrew Hamid, Amy Lynn Hamid, Woodrow Moss, and Diana Rouse

  (collectively, “Representative Plaintiffs”); and (2) Canon U.S.A., Inc., Canon Solutions America,

  Inc., Canon Software America, Inc., Canon Information and Imaging Solutions, Inc., Canon

  Financial Services, Inc., Canon Medical Components U.S.A., Inc., Canon Information Technology

  Services, Inc., and NT-ware USA, Inc. (collectively, “Canon” or “Defendants”), (collectively, the

  “Parties”).

                                     I.     BACKGROUND

         1.      Canon is a leading provider of consumer, business-to-business, and industrial

  digital imaging solutions based in Melville, New York.

         2.      This litigation arises from a Ransomware Attack suffered by Canon on or about

  August 4, 2020 (the “Ransomware Attack”).         On August 6, 2020, Canon announced the

  Ransomware Attack to its employees. (Compl. ¶ 5.) On November 24, 2020, after a preliminary
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  investigation, Canon sent a “Notice of Data Breach” to those employees who worked for Canon

  from 2005-2020, as well as their beneficiaries and dependents. (Compl. ¶ 6.) Canon’s Notice of

  Data Breach informed the relevant individuals that their information may have been exposed to

  unauthorized activity and that the information at issue included certain names, Social Security

  Numbers, driver’s license numbers or government-issued identification numbers, financial

  account numbers provided for direct deposit, electronic signatures, and dates of birth (the “PII”).

  (Compl. ¶ 7.) The Notice of Data Breach also provided one-year of free credit monitoring. (See

  Compl. Ex. A, Notice of Data Breach.)

         3.      After Canon provided notice of the Ransomware Attack, beginning on or around

  November 24, 2020, three separate class action complaints were filed in the Eastern District of

  New York: Finnegan, et al. v. Canon U.S.A., Inc., 1:20-cv-06239-AMD-SJB”); Hamid v. Canon

  U.S.A., Inc. et al., No. 1:20-cv-06380-AMD-SJB; and Rouse, et al. v. Canon U.S.A., Inc. No. 2:21-

  cv-004140-SJF-ARL. Those cases were all deemed related and on January 25, 2021, the cases

  were consolidated. (ECF 9).

         4.      On January 28, 2021, Representative Plaintiffs filed a motion for the appointment

  of interim class counsel. (ECF 12). On March 9, 2021, the Court entered an Order Appointing

  Interim Co-Lead Class Counsel and Executive Committee (“Interim Class Counsel”). (ECF 19).

         5.      On April 23, 2021, a Consolidated Class Action Complaint was filed. (ECF 22)

  (the “Complaint”).

         6.      On July 12, 2022, Canon filed a Motion to Dismiss the Complaint. (ECF 27-28).

         7.      On August 2, 2022, Representative Plaintiffs filed a Consolidated Amended Class

  Action Complaint (the “Amended Complaint”). (ECF 30).




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         8.      On August 25, 2022, Canon filed a Motion to Dismiss the Amended Complaint

  (the “Motion”). (ECF 31-32).

         9.      On March 15, 2022, United States District Judge Ann M. Donnelly issued a

  Memorandum Decision and Order denying in part and granting in part the Motion to Dismiss.

  (ECF 40).

         10.     On April 12, 2022, Canon timely filed an Answer to the remaining allegations and

  claims in the Amended Complaint. (ECF 43).

         11.     On April 19, 2022, the Parties appeared for a status conference before the

  Honorable Sanket J. Bulsara, U.S.M.J. Pursuant to an Order entered by Judge Bulsara, the Parties

  advised the Court on May 6, 2022 that they would participate in private mediation. (ECF 46)

         12.     On June 22, 2022, the Parties participated in a full-day mediation with Mediator

  Bennett J. Picker. Although the Parties did not settle during mediation, they continued to discuss

  resolution with the help of the Mediator.

         13.     The Parties reached an agreement in principal and are now finalizing the terms with

  this Settlement Agreement.

         14.     Pursuant to the terms set out below, this Settlement Agreement provides for the

  resolution of all claims and causes of action asserted, or that could have been asserted, against

  Canon and the Released Persons (as defined below) relating to the Ransomware Attack, by and

  on behalf of the Representative Plaintiffs and Settlement Class Members (as defined below) and

  any other such actions by and on behalf of any other persons in the United States and relating to

  the Ransomware Attack.




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          15.    The Parties have not reached an agreement on the amount of attorneys’ fees, costs

  and expenses to be paid to Interim Class Counsel. Instead, Section 7 of this Settlement Agreement

  provides a process to resolve the issue of attorneys’ fees, costs and expenses.

    II.    REPRESENTATIVE PLAINTIFFS’ CLAIMS AND BENEFITS OF SETTLING

          16.    Representative Plaintiffs believe the claims asserted in the Litigation, as set forth

  in the Amended Complaint, have merit. Representative Plaintiffs and Interim Class Counsel

  recognize and acknowledge, however, the expense and length of continued proceedings necessary

  to prosecute the litigation against Canon through motion practice, trial, and potential appeals.

  They have also considered the uncertain outcome and risk of further litigation as well as the

  difficulties and delays inherent in such litigation. Interim Class Counsel are experienced in class

  action litigation and are very knowledgeable regarding the relevant claims, the typical

  repercussions suffered by consumers following a security incident of the type at issue in this

  litigation, remedies, and issues generally in such litigation and in this Litigation. They have

  determined that the settlement set forth in this Settlement Agreement is fair, reasonable, and

  adequate, and in the best interest of Plaintiff and the Settlement Class.

                     III.   DENIAL OF WRONGDOING AND LIABILITY

          17.    Canon denies all the claims and contentions alleged against it (including all

  Defendants) in the Litigation and all charges of wrongdoing or liability as alleged, or which could

  be alleged, in the Litigation. Nonetheless, Canon has concluded that further conduct of the

  Litigation would be protracted and expensive and desires that the Litigation be fully and finally

  settled in the manner and upon the terms and conditions set forth in this Settlement Agreement.

  Canon has also considered the uncertainty and risks inherent in any litigation. Canon therefore




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  desires to settle the Litigation in the manner and upon the terms and conditions set forth in this

  Settlement Agreement.

                                    IV.     SETTLEMENT TERMS

           NOW, THEREFORE, in consideration of the covenants, agreements, and releases set

  forth herein and for other good and valuable consideration, it is hereby agreed by and among the

  Class Representatives, individually and on behalf of the Settlement Class and Canon that, subject

  to the approval of the Court, the Litigation be forever resolved, settled, compromised, and

  dismissed with prejudice on the following terms and conditions:

                 1. Definitions

           As used in the Settlement Agreement, the following terms have the meanings specified

  below:

           1.1      “Agreement” or “Settlement Agreement” means this agreement.

           1.2      “Approved Claims” means Settlement Claims in an amount approved by the Claims

  Administrator or found to be valid through the Dispute Resolution process.

           1.3      “Claims Administration” means the processing and payment of claims received

  from Settlement Class Members by the Claims Administrator.

           1.4      “Claims Administrator” means a company experienced in administering class

  action claims generally and specifically those of the type provided for and made in data incident

  litigation, to be mutually agreed upon by Canon and Representative Plaintiffs, and approved by

  the Court. The Parties agree to Epiq as an appropriate Claims Administrator subject to its

  availability and approval by the Court.

           1.5      “Claims Deadline” means the postmark deadline for valid claims pursuant to ¶ 2.4.




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          1.6    “Claim Form” means the form that the Settlement Class Member must complete

  and submit on or before the Claim Deadline to be eligible for the benefits described herein. The

  Claim Form shall require a sworn signature or electronic verification under penalty of perjury, but

  shall not require a notarization. The Claim Form template is attached as Exhibit A to this

  Settlement Agreement.

          1.7    “Costs of Claims Administration” means all actual costs associated with or arising

  from Claims Administration.

          1.8    “Court” means the United States District Court for the Eastern District of New

  York.

          1.9    “Data Incident” means the Ransomware Attack suffered by Canon in August 2020

  (as described above) that potentially exposed personal information of past and present Canon

  employees.

          1.10   “Dispute Resolution” means the process for resolving disputed Settlement Claims

  as set forth in this Agreement.

          1.11   “Effective Date” means the first date by which all events and conditions specified

  in ¶ 1.12 and ¶ 9.1 herein have occurred and been met.

          1.12   “Final” means the occurrence of all of the following events: (i) the settlement

  pursuant to this Settlement Agreement is approved by the Court; (ii) the Court has entered a

  Judgment (as that term is defined herein); and (iii) the time to appeal or seek permission to appeal

  from the Judgment has expired or, if appealed, the appeal has been dismissed in its entirety, or the

  Judgment has been affirmed in its entirety by the court of last resort to which such appeal may be

  taken, and such dismissal or affirmance has become no longer subject to further appeal or review.

  Notwithstanding the above, any order modifying or reversing any attorneys’ fee award or service




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  award made in this case shall not affect whether the Judgment is “Final” as defined herein or any

  other aspect of the Judgment.

         1.13    “Judgment” means a judgment rendered by the Court.

         1.14    “Litigation” or “Action” means the consolidated action of In re Canon Data Breach

  Litigation, Case No. 1:20-cv-06239-AMD-SJB, which is pending in the U.S. District Court for the

  Eastern District of New York.

         1.15    “Notice” means the written notice to be sent to the Settlement Class Members

  pursuant to the Preliminary Approval Order.

         1.16     “Objection Date” means the date by which objections to the settlement from

  Settlement Class Members must be filed with the Clerk of Court in order to be effective and timely.

         1.17    “Opt-Out Date” means the date by which requests for exclusion from settlement

  must be postmarked in order to be effective and timely.

         1.18    “Person” means an individual, corporation, partnership, limited partnership, limited

  liability company or partnership, association, joint stock company, estate, legal representative,

  trust, unincorporated association, government or any political subdivision or agency thereof, and

  any business or legal entity, and their respective spouses, heirs, predecessors, successors,

  representatives, or assignees.

         1.19     “Preliminary Approval Order” means the proposed order preliminarily approving

  the Settlement and directing mailed notice to the Settlement Class of the pendency of the Action

  and of the Settlement, to be entered by the Court.

         1.20     “Plaintiffs’ Counsel” and “Interim Class Counsel” means John Yanchunis of

  Morgan & Morgan Complex Litigation Group and Gary M. Klinger of Milberg Coleman Bryson




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  Phillips Grossman, LLC (“Milberg”), who are appointed Co-Lead Counsel and Lori Feldman of

  George Gesten McDonald, PLLC who is appointed to the Executive Committee.

         1.21    “Related Entities” means past or present parents, subsidiaries, divisions, related or

  affiliated entities, and subcontractors, and each of their respective predecessors, successors,

  directors, officers, employees, principals, agents, attorneys, insurers, and reinsurers of all

  Defendants.

         1.22    “Released Claims” shall collectively mean any and all claims and causes of action

 that were or could have been asserted based on, relating to, concerning or arising out of the Data

 Incident, or the allegations, facts, or circumstances related to the Data Incident as described in the

 Litigation including, without limitation, any violations of New York, Florida, Ohio, California, and

 similar state consumer protection statutes; negligence; negligence per se; breach of contract; breach

 of implied contract; breach of fiduciary duty; breach of confidence; publicity given to private life;

 misrepresentation (whether fraudulent, negligent or innocent); unjust enrichment; bailment;

 wantonness; failure to provide adequate notice pursuant to any breach notification statute or

 common law duty; and including, but not limited to, any and all claims for damages, injunctive

 relief, disgorgement, declaratory relief, equitable relief, attorneys’ fees and expenses, pre-judgment

 interest, credit monitoring services, the creation of a fund for future damages, statutory damages,

 punitive damages, special damages, exemplary damages, restitution, the appointment of a receiver,

 and any other form of relief that either has been asserted, or could have been asserted, by any

 Settlement Class Member against any of the Released Persons based on, relating to, concerning or

 arising out of the Data Incident or the allegations, facts, or circumstances related to the Data

 Incident. Released Claims shall include Unknown Claims as defined in ¶ 1.29. Released Claims




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  shall not include the claims of Settlement Class Members who have timely excluded themselves

  from the Settlement Class.

          1.23    “Released Persons” means all Defendants, the Related Entities and each of their

   past or present parents, subsidiaries, divisions, and related or affiliated entities, and each of their

   respective predecessors, successors, directors, officers, employees, principals, agents, attorneys,

   insurers, and reinsurers.

          1.24    “Representative Plaintiffs” means Michael Finnigan, Kenneth Buchbinder, Brian

   McCartney, Tyrone Villacis, Luis Pichardo, Andre Hamid, Amy Lynn Hamid, Woodrow Moss,

   and Diana Rouse.

          1.25    “Settlement Claim” means a claim for settlement benefits made under the terms of

   this Settlement Agreement.

          1.26    “Settlement Class” means all individuals residing in the United States whose PII

   was compromised in the Data Incident. The Settlement Class specifically excludes: (i) Canon

   (including all Defendants) and its officers and directors; (ii) all Settlement Class Members who

   timely and validly request exclusion from the Settlement Class; (iii) the Judge assigned to evaluate

   the fairness of this settlement; and (iv) the attorneys representing the Parties in the Litigation.

          1.27    “Settlement Class Member(s)” means a Person(s) who falls within the definition of

   the Settlement Class.

          1.28    “Settling Parties” means, collectively, Canon (including all Defendants) and

   Representative Plaintiffs, individually and on behalf of the Settlement Class.

          1.29    “Unknown Claims” means any of the Released Claims that any Settlement Class

   Member, including Representative Plaintiffs, does not know or suspect to exist as of the date of

   the entry of the Preliminary Approval Order that, if known by him, might have affected his




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   settlement with, and release of, the Released Persons, or might have affected his decision not to

   object to and/or to participate in this Settlement Agreement. With respect to any and all Released

   Claims, the Settling Parties stipulate and agree that upon the Effective Date, Representative

   Plaintiffs expressly shall have, and each of the other Settlement Class Members shall be deemed

   to have, and by operation of the Judgment, waived the provisions, rights, and benefits conferred

   by California Civil Code § 1542, and also any and all provisions, rights, and benefits conferred by

   any law of any state, province, or territory of the United States (including, without limitation,

   Montana Code Ann. § 28-1-1602; North Dakota Cent. Code § 9-13-02; and South Dakota Codified

   Laws § 20-7-11), which is similar, comparable, or equivalent to California Civil Code §1542,

   which provides:

           A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
           CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO
           EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
           RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
           MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
           DEBTOR OR RELEASED PARTY.

           Settlement Class Members, including Representative Plaintiffs, and any of them, may

   hereafter discover facts in addition to, or different from, those that they, and any of them, now

   know or believe to be true with respect to the subject matter of the Released Claims, but

   Representative Plaintiffs expressly shall have, and each other Settlement Class Member shall be

   deemed to have, and by operation of the Judgment shall have, upon the Effective Date, fully, finally

   and forever settled and released any and all Released Claims. The Settling Parties acknowledge,

   and Settlement Class Members shall be deemed by operation of the Judgment to have

   acknowledged, that the foregoing waiver is a material element of the Settlement Agreement of

   which this release is a part.




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           1.30    “United States” as used in this Settlement Agreement includes the District of

   Columbia and all states and territories of the United States of America.

           2.      Settlement Benefits

           2.1     Ordinary Expense Reimbursement. All Settlement Class Members who submit a

   valid claim using the Claim Form (Exhibit A to this Settlement Agreement) are eligible to receive

   reimbursement for documented out-of-pocket losses that were incurred between August 4, 2020

   and the date of this Settlement Agreement, if plausibly caused by the Data Incident, not to exceed

   $300 per Settlement Class Member, including: (i) cost to obtain credit reports; (ii) fees relating to

   a credit freeze; (iii) card replacement fees; (iv) late fees; (v) overlimit fees; (vi) interest on payday

   loans taken as a result of the Data Incident; (vii) other bank or credit card fees; (viii) postage,

   mileage, and other incidental expenses resulting from lack of access to an existing account; (ix)

   costs associated with credit monitoring or identity theft insurance purchased prior to the Effective

   Date of the Settlement, if purchased primarily as a result of the Data Incident (with reasonable

   documentation and an affirmative statement by Settlement Class Member that it was purchased

   primarily because of the Data Incident, and with proof of purchase); and (x) compensation for

   attested-to lost time spent monitoring accounts, reversing fraudulent charges, or otherwise dealing

   with the aftermath/cleanup of the Data Incident, at a rate of $20 for up to four (4) hours (attestation

   requires at least a narrative description of the activities performed during the time claimed and

   their connection to the Data Incident).

           2.2      Extraordinary Expense Reimbursement. Settlement Class Members are also

   eligible to receive extraordinary expense reimbursement, not to exceed $7,500 per Settlement

   Class Member, for monetary out-of-pocket losses that occurred more likely than not as a result of

   the Data Incident if: (a) it is an actual, documented, and unreimbursed monetary loss; (b) was

   caused by the Data Incident; (c) occurred during the time period from August 4, 2020, through and


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   including the end of the Claims Deadline (see ¶ 2.4); (d) is not an amount already covered by one

   or more of the categories in ¶ 2.1; (e) the claimant made reasonable efforts to avoid, or seek

   reimbursement for the loss, including but not limited to exhaustion of all available credit

   monitoring insurance and identity theft insurance. Settlement Class Members may only submit

   one claim for benefits under this paragraph ¶ 2.2 and the total of all amounts recovered under this

   paragraph shall not exceed $7,500 per Settlement Class Member.

          2.3      Credit Monitoring and Identity Protection. Settlement Class Members are eligible

   to receive two (2) years of credit monitoring services, which includes three bureau credit

   monitoring and alerts. This is in addition to the credit monitoring services previously offered to

   individuals who were notified of the Data Incident. Settlement Class Members must affirmatively

   request credit monitoring by indicating such request on the Claim Form, and codes will be sent

   either to an e-mail address provided by the Settlement class member or, if they do not have an e-

   mail address, mailed to the address provided on the claim form.

          2.4     Canon will fund the reimbursement provided under ¶¶ 2.1, 2.2, and 2.3.

   Additionally, Settlement Class Members seeking reimbursement under ¶¶ 2.1, 2.2, or 2.3 must

   complete and submit a written Claim Form to the Claims Administrator, postmarked on or before

   the 120th day after the deadline for the completion of Notice to Settlement Class Members as set

   forth in ¶ 3.2 (the “Claims Deadline”). The Notice to the class will specify this deadline and other

   relevant dates described herein.

                 2.4.1    The Claim Form must be verified by the Settlement Class Member with a

   statement that his or her claim is true and correct, to the best of his or her knowledge and belief,

   and is being made under penalty of perjury. Notarization shall not be required. The Settlement

   Class Member must reasonably attest that the out-of-pocket expenses and charges claimed were



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   both actually incurred and plausibly arose from the Data Incident. Failure to provide supporting

   attestation and documentation as requested on the Claim Form shall result in denial of a claim.

   Disputes as to claims submitted under this paragraph are to be resolved pursuant to the provisions

   stated in ¶ 2.6.

                  2.4.2   Claimants seeking reimbursement for expenses or losses described in ¶¶ 2.1

   or 2.2 must complete and submit the appropriate section of the Claim Form to the Claims

   Administrator, together with proof of such losses. Claimants must provide the Claims

   Administrator with sufficient information to evaluate the claim, including (1) the class member’s

   name and current address; (2) documentation supporting their claim; (3) a brief description of the

   documentation describing the nature of the loss if the nature of the loss is not apparent from the

   documentation alone; and (4) attestation from the claimant that they were not subject to another

   data breach incident during the relevant time period. Documentation supporting out-of-pocket

   losses can include receipts or other documentation not “self-prepared” by the class member that

   documents the costs incurred. “Self-prepared” documents such as handwritten receipts are, by

   themselves, insufficient to receive reimbursement, but can be considered to add clarity to or

   support other submitted documentation.

                  2.4.3   Nothing in this Settlement Agreement shall be construed to provide for a

   double payment for the same loss or injury that was reimbursed or compensated by any other

   source.

                  2.4.4   To be valid, claims must be complete and submitted to the Claims

   Administrator on or before the Claims Deadline.




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                 2.4.5    No payment shall be made for emotional distress, personal/bodily injury, or

   punitive damages, as all such amounts are not recoverable pursuant to the terms of the Settlement

   Agreement.

          2.5     Equitable Relief.

          Canon agrees to maintain at a minimum, for a period of one (1) year following final

   approval of the settlement, enhanced security practices and procedures that were implemented

   following the Data Incident, including deployment of endpoint detection and response tools to its

   servers and workstations; engagement of a third-party security operations center to provide

   constant monitoring of its network; a local administrator password vault solution; and multi-factor

   authentication and application control for access to domain controllers.

          2.6     Dispute Resolution for Claims.

                  2.6.1   The Claims Administrator, in its sole discretion to be reasonably exercised,

   will determine whether: (1) the claimant is a Settlement Class Member; (2) the claimant has

   provided all information needed to complete the Claim Form, including any documentation that

   may be necessary to reasonably support the claimant’s class membership and the expenses

   described in ¶¶ 2.1 and 2.2; and (3) the information submitted could lead a reasonable person to

   conclude that more likely than not the claimant has suffered the claimed losses as a result of the

   Data Incident (collectively, “Facially Valid”). The Claims Administrator may, at any time, request

   from the claimant, in writing, additional information (“Claim Supplementation”) as the Claims

   Administrator may reasonably require to evaluate the claim, e.g., documentation requested on the

   Claim Form, information regarding the claimed losses, available insurance and the status of any

   claims made for insurance benefits, and claims previously made for identity theft and the resolution

   thereof.




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                  2.6.2   Upon receipt of an incomplete or unsigned Claim Form or a Claim Form

   that is not accompanied by sufficient documentation to determine whether the claim is Facially

   Valid, the Claims Administrator shall request additional information (“Claim Supplementation”)

   and give the claimant thirty (30) days to cure the defect before rejecting the claim. Requests for

   Claim Supplementation shall be made within thirty (30) days of receipt of such Claim Form or

   thirty (30) days from the Effective Date, whichever comes later.           In the event of unusual

   circumstances interfering with compliance during the 30-day period, the claimant may request and,

   for good cause shown (illness, military service, out of the country, mail failures, lack of

   cooperation of third parties in possession of required information, etc.), shall be given a reasonable

   extension of the 30-day deadline in which to comply; however, in no event shall the deadline be

   extended to later than one year from the Effective Date. If the defect is not cured, then the claim

   will be deemed invalid and there shall be no obligation to pay the claim.

                  2.6.3   Following receipt of additional information requested as Claim

   Supplementation, the Claims Administrator shall have thirty (30) days to accept, in whole or lesser

   amount, or reject each claim. If, after review of the claim and all documentation submitted by the

   claimant, the Claims Administrator determines that such a claim is Facially Valid, then the claim

   shall be paid. If the claim is not Facially Valid because the claimant has not provided all

   information needed to complete the Claim Form and evaluate the claim, then the Claims

   Administrator may reject the claim without any further action.

          2.6.4   Settlement Class Members shall have thirty (30) days from receipt of the offer to

   accept or reject any offer of partial payment received from the Claims Administrator. If a

   Settlement Class Member rejects an offer from the Claims Administrator, the Claims




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   Administrator shall have fifteen (15) days to reconsider its initial adjustment amount and make a

   final determination.

           2.7     Settlement Expenses. All costs for notice to the Settlement Class as required under

   ¶¶ 3.1 and 3.2, Costs of Claims Administration under ¶¶ 8.1, 8.2, and 8.3, and the costs of Dispute

   Resolution described in ¶ 2.6, shall be paid by Canon.

           2.8     Settlement Class Certification. The Settling Parties agree, for purposes of this

   settlement only, to the certification of the Settlement Class. If the settlement set forth in this

   Settlement Agreement is not approved by the Court, or if the Settlement Agreement is terminated

   or canceled pursuant to the terms of this Settlement Agreement, this Settlement Agreement, and

   the certification of the Settlement Class provided for herein, will be vacated and the Litigation

   shall proceed as though the Settlement Class had never been certified, without prejudice to any

   Person’s or Settling Party’s position on the issue of class certification or any other issue. The

   Settling Parties’ agreement to the certification of the Settlement Class is also without prejudice to

   any position asserted by the Settling Parties in any other proceeding, case or action, as to which

   all of their rights are specifically preserved.

           2.9     Confidentiality of Information Submitted by Settlement Class Members.

   Information submitted by Settlement Class Members pursuant to this Settlement Agreement shall

   be deemed confidential and protected as such by Canon and the Claims Administrator.

           3.      Order of Preliminary Approval and Publishing of Notice of Fairness Hearing

           3.1.    As soon as practicable after the execution of the Settlement Agreement, Interim

   Class Counsel and counsel for Canon shall jointly submit this Settlement Agreement to the Court

   and file a motion for preliminary approval of the settlement with the Court requesting entry of a

   Preliminary Approval Order requesting, inter alia:




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          a)      certification of the Settlement Class for settlement purposes only pursuant to ¶ 2.8;

          b)      preliminary approval of the Settlement Agreement as set forth herein;

          c)      the scheduling of a Final Fairness Hearing and briefing schedule for Motion For
                  Final Hearing and Application for Class Representatives Service Award and
                  Attorneys’ Fees and Costs;

          d)      appointment of Interim Class Counsel as Class Counsel;

          e)      appointment of Representative Plaintiffs as Class Representatives;

          f)      approval of a customary form of short notice to be mailed to Settlement Class
                  Members (“Short-Form Notice”) in a form substantially similar to the one attached
                  hereto as Exhibit B and a customary long form notice (“Long-Form Notice”) in a
                  form substantially similar to the one attached hereto as Exhibit C which together
                  shall include a fair summary of the parties’ respective litigation positions, the
                  general terms of the settlement set forth in the Settlement Agreement, instructions
                  for how to object to or opt-out of the settlement, the process and instructions for
                  making claims to the extent contemplated herein, and the date, time and place of
                  the Final Fairness Hearing;

          g)      appointment of a Claims Administrator, or such other provider of claims
                  administrative service, as may be jointly agreed to by the Settling Parties; and

          h)      approval of a claim form substantially similar to that attached hereto as Exhibit A.

   The Notice and Claim Form shall be reviewed by the Claims Administrator and may be revised as

   agreed upon by the Settling Parties prior to such submission to the Court for approval.

           3.2     Canon shall pay for all of the costs associated with the Claims Administrator and

    for providing Notice to the Settlement Class in accordance with the Preliminary Approval Order

    as well as the costs of such notice. Attorneys’ fees, costs, and expenses of Interim Class Counsel,

    and a service award to Class Representatives (if permitted), shall be paid by Canon as set forth

    in ¶ 7 below, subject to Court approval. Notice shall be provided to class members in accordance

    with the Notice plan set forth in the Motion for Preliminary Approval. The Notice plan shall be

    subject to approval by the Court as meeting constitutional due process requirements. The Claims

    Administrator shall establish a dedicated settlement website and shall maintain and update the


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    website throughout the claim period, with the Notice and Claim Form approved by the Court, as

    well as this Settlement Agreement. A toll-free help line staffed with a reasonable number of live

    operators shall be made available to address Settlement Class Members’ inquiries. The Claims

    Administrator also will provide copies of the forms of the Notice and Claim Form approved by

    the Court, as well as this Settlement Agreement, upon request. Prior to the Final Fairness

    Hearing, Interim Class Counsel and/or Canon’s counsel shall cause to be filed with the Court an

    appropriate affidavit or declaration with respect to complying with this provision of Notice. The

    Notice and Claim Form approved by the Court may be adjusted by the Claims Administrator,

    respectively, in consultation and agreement with the Settling Parties, as may be reasonable and

    not inconsistent with such approval. The Notice Program shall commence within thirty (30) days

    after entry of the Preliminary Approval Order and shall be completed within sixty (60) days after

    entry of the Preliminary Approval Order.

          3.3      Interim Class Counsel and Canon’s counsel shall request that after notice is

   completed, the Court hold a hearing (the “Final Fairness Hearing”) and grant final approval of the

   settlement set forth herein.

          3.4      Canon will also cause the Claims Administrator to provide (at Canon’s expense)

   notice to the relevant state and federal governmental officials as required by the Class Action

   Fairness Act.

          4.          Opt-Out Procedures

          4.1      Each Person wishing to opt-out of the Settlement Class shall individually sign and

   timely submit written notice of such intent to the designated Post Office box established by the

   Claims Administrator. Persons wishing to opt-out of the Settlement Class will only be able to

   submit an opt-out request on their own behalf; mass or class opt-outs will not be permitted. The


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   written notice must clearly manifest a Person’s intent to be excluded from the Settlement Class.

   To be effective, written notice must be postmarked no later than one hundred twenty (120) days

   after the date on which the Notice Program commences pursuant to ¶ 3.2.

          4.2     All Persons who submit valid and timely notices of their intent to be excluded from

   the Settlement Class, as set forth in ¶ 4.1 above, referred to herein as “Opt-Outs,” shall not receive

   any benefits of and/or be bound by the terms of this Settlement Agreement. All Persons falling

   within the definition of the Settlement Class who do not request to be excluded from the Settlement

   Class in the manner set forth in ¶ 4.1 above shall be bound by the terms of this Settlement

   Agreement and Judgment entered thereon.

          4.3      Within seven (7) days after the Opt-Out Date, the Claims Administrator shall

   furnish to Interim Class Counsel and Canon’s counsel a complete list of all timely and valid

   requests for exclusion.

          4.4     In the event that within ten (10) days after the Opt-Out Date as approved by the

   court, there have been more Opt-Outs (persons who wish to be excluded) than listed in a separate

   letter agreement (to be shared with the Court under seal, if requested), Canon may, by notifying

   Interim Class Counsel in writing, void this Settlement Agreement. If Canon voids this Settlement

   Agreement pursuant to this paragraph, Canon shall be obligated to pay all settlement expenses

   already incurred, excluding any attorney’s fees, costs, and expenses of Interim Class Counsel and

   any incentive award.

          5.          Objection Procedures

          5.1     Each Settlement Class Member desiring to object to the Settlement Agreement shall

   submit a timely written notice of his or her objection by the Objection Date. Such notice shall

   state: (i) the objector’s full name, address, telephone number, and e-mail address (if any);




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   (ii) information identifying the objector as a Settlement Class Member, including proof that the

   objector is a member of the Settlement Class; (iii) a written statement of all grounds for the

   objection, accompanied by any legal support for the objection the objector believes applicable;

   (iv) the identity of all counsel representing the objector; (v) a statement whether the objector and/or

   his or her counsel will appear at the Final Fairness Hearing; and (vi) the objector’s signature and

   the signature of the objector’s duly authorized attorney or other duly authorized representative

   (along with documentation setting forth such representation). To be timely, written notice of an

   objection in the appropriate form must be filed with the Clerk of the Court for the U.S. District

   Court for the Eastern District of New York no later than one hundred twenty (120) days from the

   date on which the Notice Program commences pursuant to ¶ 3.2, and served concurrently on the

   Claims Administrator with copies to Interim Class Counsel.

          5.2      Any Settlement Class Member who fails to comply with the requirements for

   objecting in ¶ 5.1 shall waive and forfeit any and all rights he or she may have to appear separately

   and/or to object to the Settlement Agreement and shall be bound by all the terms of the Settlement

   Agreement and by all proceedings, orders, and judgments in the Litigation. The exclusive means

   for any challenge to the Settlement Agreement shall be through the provisions of ¶ 5.1. Without

   limiting the foregoing, any challenge to the Settlement Agreement, the final order approving this

   Settlement Agreement, or the Judgment to be entered upon final approval shall be pursuant to

   appeal under the Federal Rules of Appellate Procedure and not through a collateral attack.

          6.      Releases

          6.1     Upon the Effective Date, each Settlement Class Member, including Representative

   Plaintiffs, shall be deemed to have, and by operation of the Judgment shall have, fully, finally, and

   forever released, relinquished, and discharged all Released Claims. Further, upon the Effective


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   Date, and to the fullest extent permitted by law, each Settlement Class Member, including

   Representative Plaintiffs, shall, either directly, indirectly, representatively, as a member of or on

   behalf of the general public or in any capacity, be permanently barred and enjoined from

   commencing, prosecuting, or participating in any recovery in any action in this or any other forum

   (other than participation in the settlement as provided herein) in which any Released Claim is

   asserted.

          6.2     Upon the Effective Date, Canon shall be deemed to have, and by operation of the

   Judgment shall have, fully, finally, and forever released, relinquished, and discharged,

   Representative Plaintiffs, each and all of the Settlement Class Members, Interim Class Counsel

   and Plaintiffs’ Counsel, of all claims, including Unknown Claims, based upon or arising out of the

   institution, prosecution, assertion, settlement, or resolution of the Litigation or the Released

   Claims, except for enforcement of the Settlement Agreement. Any other claims or defenses Canon

   may have against such Persons including, without limitation, any claims based upon or arising out

   of any debtor-creditor, contractual, or other business relationship with such Persons that are not

   based upon or do not arise out of the institution, prosecution, assertion, settlement, or resolution

   of the Litigation or the Released Claims are specifically preserved and shall not be affected by the

   preceding sentence.

          6.3     Notwithstanding any term herein, neither Canon, nor their Related Parties, shall

   have or shall be deemed to have released, relinquished, or discharged any claim or defense against

   any Person other than Representative Plaintiffs, each and all of the Settlement Class Members,

   Interim Class Counsel and Plaintiffs’ Counsel.

          7.      Service Award to Representative Plaintiffs; Plaintiffs’ Counsel’s Attorneys’
                  Fees, Costs, and Expenses




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          7.1     Canon agrees to pay a service award to Representative Plaintiffs in an amount of

   $1,000 per Representative Plaintiff, or as otherwise approved by the Court. If the Court does not

   approve a service award, or a service award less than the negotiated amount, it will not be a basis

   for setting aside the settlement.

          7.2     The Settling Parties did not discuss the payment of attorneys’ fees, costs, and/or

   expenses, as provided for in ¶ 7.3, until after the substantive terms of the settlement had been

   agreed upon, other than that Canon would pay reasonable attorneys’ fees, costs, expenses as may

   be agreed to by Canon and Interim Class Counsel and/or as ordered by the Court, or in the event

   of no agreement, then as ordered by the Court. Canon and Interim Class Counsel have agreed that

   within 10 days of the entry of an order finally approving the settlement, Interim Class Counsel will

   file a motion for attorneys’ fees, litigation costs, and expenses, to be paid by Canon separate from

   the settlement consideration and administrative costs. Canon and/or any Class Member who has

   not opted out of the Settlement may file an opposition to the motion for fees within 20 days

   following the filing of the motion. Plaintiffs’ counsel may file a reply within 10 days from the

   date any opposition is filed. The Court’s decision on the amount of attorneys’ fees, litigation costs,

   and expenses may be appealed by either Party.

          7.3     Canon shall pay the Court-approved amount of attorneys’ fees, costs, expenses, and

    service award to Representative Plaintiffs (if applicable) to an account established by Interim

    Class Counsel within thirty (30) days after the entry of an order of Final Approval, regardless of

    any appeal that may be filed or taken by any Party, Class Member or third party. Interim Class

    Counsel will hold any fee award in trust pending any appeal and will repay to Canon the amount

    of the award of attorneys’ fees and costs in the event that the final approval order and final

    judgment are not upheld on appeal and, if only a portion of fees or costs (or both) is upheld,




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    Interim Class Counsel will repay to Canon the amount necessary to ensure the amount of

    attorneys’ fees or costs (or both) comply with any court order.

          7.4     Interim Class Counsel shall thereafter distribute the award of attorneys’ fees, costs,

   and expenses, and service awards to Representative Plaintiffs consistent with ¶¶ 7.2 and 7.3. If

   this Settlement Agreement is terminated or otherwise does not become Final (e.g., disapproval by

   the Court or any appellate court), Canon shall have no obligation to pay attorneys’ fees, costs,

   expenses, or service awards and shall only be required to pay costs and expenses related to notice

   and administration that were already incurred. Under no circumstances will Interim Class Counsel

   or any Class Member be liable for any costs or expenses related to notice or administration.

          7.6     The amount(s) of any award of attorneys’ fees, costs, and expenses, and the service

   awards to Representative Plaintiffs, are intended to be considered by the Court separately from the

   Court’s consideration of the fairness, reasonableness, and adequacy of the settlement No order of

   the Court, or modification or reversal or appeal of any order of the Court, concerning the amount(s)

   of any attorneys’ fees, costs, expenses, and/or service award ordered by the Court to Interim Class

   Counsel or Representative Plaintiffs shall affect whether the Judgment is Final or constitute

   grounds for cancellation or termination of this Settlement Agreement.

          8.          Administration of Claims

          8.1     The Claims Administrator shall administer and calculate the claims submitted by

   Settlement Class Members under ¶ 2. Interim Class Counsel and Canon shall be given reports as

   to both claims and distribution, and each shall have the right to review and obtain supporting

   documentation and challenge any such claim if either believes it to be inaccurate or inadequate. If

   the Claims Administrator is unable to make a determination regarding a particular claim, any

   claims agreed to be paid in full by Canon shall be deemed valid. The Claims Administrator’s final




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   determination of the validity or invalidity of any claims shall be binding, subject to the dispute

   resolution process set forth in ¶ 2.6.

          8.2       Checks for approved claims shall be mailed and postmarked within sixty (60) days

   of the Effective Date, or within thirty (30) days of the date that the claim is approved, whichever

   is later. No approved claims shall be paid until after the Effective Date. If this Settlement

   Agreement is terminated or otherwise does not become Final (e.g., disapproval by the Court or

   any appellate court) prior to the payment of approved claims, Canon shall have no obligation to

   pay such claims and shall only be required to pay costs and expenses related to notice and

   administration that were already incurred.

          8.3       All Settlement Class Members who fail to timely submit a claim for any benefits

   hereunder within the time frames set forth herein, or such other period as may be ordered by the

   Court, or otherwise allowed, shall be forever barred from receiving any payments or benefits

   pursuant to the settlement set forth herein, but will in all other respects be subject to, and bound

   by, the provisions of the Settlement Agreement, the releases contained herein and the Judgment.

          8.4       No Person shall have any claim against the Claims Administrator, Canon, Interim

   Class Counsel, Plaintiff, and/or Canon’s counsel based on distributions of benefits to Settlement

   Class Members.

          9.      Conditions of Settlement, Effect of Disapproval, Cancellation, or Termination

          9.1     The Effective Date of the settlement shall be conditioned on the occurrence of all

   of the following events:

          a)      the Court has entered the Order of Preliminary Approval and Publishing of Notice
                  of a Final Fairness Hearing, as required by ¶ 3.1;

          b)      Canon has not exercised its option to terminate the Settlement Agreement pursuant
                  to ¶ 4.3;




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          c)      the Court has entered the Judgment, granting final approval to the settlement as set
                  forth herein; and

          d)      the Judgment has become Final, as defined in ¶ 1.12.

          9.2     If all of the conditions specified in ¶ 9.1 hereof are not satisfied, the Settlement

   Agreement shall be canceled and terminated subject to ¶ 9.4 unless Interim Class Counsel and

   Canon’s counsel mutually agree in writing to proceed with the Settlement Agreement.

          9.3      If the Court rejects the Settlement Agreement or the Settlement Agreement is

   terminated in accordance with its terms, (i) the Litigation will recommence and the Settling Parties

   shall jointly request that all scheduled litigation deadlines be reasonably extended by the Court so

   as to avoid prejudice to any Settling Party or Settling Party’s counsel, and (b) the terms and

   provisions of the Settlement Agreement shall have no further force and effect with respect to the

   Settling Parties and shall not be used in the Litigation or in any other proceeding for any purpose,

   and any judgment or order entered by the Court in accordance with the terms of the Settlement

   Agreement shall be treated as vacated, nunc pro tunc. Notwithstanding any statement in this

   Settlement Agreement to the contrary, no order of the Court or modification or reversal on appeal

   of any order reducing the amount of attorneys’ fees, costs, expenses, and/or service awards shall

   constitute grounds for cancellation or termination of the Settlement Agreement.            Further,

   notwithstanding any statement in this Settlement Agreement to the contrary, Canon shall be

   obligated to pay amounts already billed or incurred for costs of notice to the Settlement Class,

   Claims Administration, and Dispute Resolution above and shall not, at any time, seek recovery of

   same from any other party to the Litigation or from counsel to any other party to the Litigation.




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           10.      Non-Disparagement

           Representative Plaintiffs shall not make, publish, or state, or cause to be made, published,

   or stated, any defamatory or disparaging statement, writing or communication pertaining to

   Canon or its directors, officers, and employees, and/or affiliates, and Related Entities.

           11.      Miscellaneous Provisions

           11.1    The Settling Parties (i) acknowledge that it is their intent to consummate this

   agreement; and (ii) agree to cooperate to the extent reasonably necessary to effectuate and

   implement all terms and conditions of this Settlement Agreement, and to exercise their best efforts

   to accomplish the terms and conditions of this Settlement Agreement.

           11.2    The Settling Parties intend this settlement to be a final and complete resolution of

   all disputes between them with respect to the Litigation. The settlement comprises claims that are

   contested and shall not be deemed an admission by any Settling Party as to the merits of any claim

   or defense. The Settling Parties each agree that the settlement was negotiated in good faith by the

   Settling Parties and that the settlement reflects a settlement that was reached voluntarily after

   consultation with competent legal counsel. The Settling Parties reserve their right to rebut, in a

   manner that such party determines to be appropriate, any contention made in any public forum that

   the Litigation was brought or defended in bad faith or without a reasonable basis. Neither Party

   shall have any liability to one another as it relates to the Litigation, except as set forth herein.

           11.3    Neither the Settlement Agreement, nor the settlement contained herein, nor any act

   performed or document executed pursuant to or in furtherance of the Settlement Agreement or the

   settlement (i) is or may be deemed to be or may be used as an admission of, or evidence of, the

   validity or lack thereof of any Released Claim, or of any wrongdoing or liability of any of the

   Released Persons; or (ii) is or may be deemed to be or may be used as an admission of, or evidence




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   of, any fault or omission of any of the Released Persons in any civil, criminal or administrative

   proceeding in any court, administrative agency, or other tribunal. Any of the Released Persons

   may file the Settlement Agreement and/or the Judgment in any action that may be brought against

   them or any of them to support a defense or counterclaim based on principles of res judicata,

   collateral estoppel, release, good faith settlement, judgment bar, or reduction or any other theory

   of claim preclusion or issue preclusion or similar defense or counterclaim.

          11.4    The Settlement Agreement may be amended or modified only by a written

   instrument signed by or on behalf of all Settling Parties or their respective successors-in-interest.

          11.5    The Settlement Agreement, together with the Exhibits attached hereto, constitutes

   the entire agreement among the parties hereto, and no representations, warranties, or inducements

   have been made to any party concerning the Settlement Agreement other than the representations,

   warranties, and covenants contained and memorialized in such document. Except as otherwise

   provided herein, each party shall bear its own costs. This agreement supersedes all previous

   agreements made between Representative Plaintiffs and Canon.

          11.6    Interim Class Counsel, on behalf of the Settlement Class, are expressly authorized

   by Representative Plaintiffs to take all appropriate actions required or permitted to be taken by the

   Settlement Class pursuant to the Settlement Agreement to effectuate its terms and also are

   expressly authorized to enter into any modifications or amendments to the Settlement Agreement

   on behalf of the Settlement Class which they deem appropriate in order to carry out the spirit of

   this Settlement Agreement and to ensure fairness to the Settlement Class.

          11.7    Each counsel or other Person executing the Settlement Agreement on behalf of any

   party hereto hereby warrants that such Person has the full authority to do so.




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          11.8    The Settlement Agreement may be executed in one or more counterparts. All

   executed counterparts and each of them shall be deemed to be one and the same instrument. A

   complete set of executed counterparts shall be filed with the Court.

          11.9    The Settlement Agreement shall be binding upon, and inure to the benefit of, the

   successors and assigns of the parties hereto.

          11.10 The Court shall retain jurisdiction to implement and enforce the Settlement

   Agreement’s terms, and all parties hereto submit to the Court’s jurisdiction for such purposes.

          11.11 The Settlement Agreement shall be considered to have been negotiated, executed,

   and delivered, and to be wholly performed, in the State of New York, and the rights and obligations

   of the parties to the Settlement Agreement shall be construed and enforced in accordance with,

   and governed by, the internal, substantive laws of the State of New York.

          11.12 As used herein, “he” means “he, she, or it;” “his” means “his, hers, or its,” and

   “him” means “him, her, or it.’’

          11.13 All dollar amounts are in United States dollars (USD).

          11.14 Cashing a settlement check is a condition precedent to any Settlement Class

   Member’s right to receive settlement benefits. All settlement checks shall be void sixty (60) days

   after issuance and shall bear the language: “This check must be cashed within 60 days, after which

   time it is void.” If a check becomes void, the Settlement Class Member shall have until six months

   after the Effective Date to request re-issuance. If no request for re-issuance is made within this

   period, the Settlement Class Member will have failed to meet a condition precedent to recovery of

   settlement benefits, the Settlement Class Member’s right to receive monetary relief shall be

   extinguished, and Canon shall have no obligation to make payments to the Settlement Class

   Member for expense reimbursement under ¶ 2.1 or ¶ 2.2 or any other type of monetary relief. The




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   same provisions shall apply to any re-issued check. For any checks that are issued or re-issued for

   any reason more than one hundred eighty (180) days from the Effective Date, requests for re-

   issuance need not be honored after such checks become void.

          11.15 All agreements made and orders entered during the course of the Litigation relating

   to the confidentiality of information shall survive this Settlement Agreement.

          IN WITNESS WHEREOF, the parties hereto have caused the Settlement Agreement to

   be executed by their duly authorized attorneys.

                                  [Signatures on the Following Page]




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    On Behalf Of Representative Plaintiffs    Counsel for Canon U.S.A., Inc., Canon
                                              Solutions America, Inc., Canon Software
                                              America, Inc., Canon Information and Imaging
                                              Solutions, Inc., Canon Financial Services, Inc.,
    _____________________________             Canon Medical Components U.S.A., Inc.,
                                              Canon Information Technology Services, Inc.,
    Dated: January 26
                   __, 2023                   and NT-ware USA, Inc. and Duly Authorized
                                              Signatory
    By: Gary M. Klinger

    Counsel for Representative Plaintiffs
    and Interim Class Counsel on Behalf
    of the Settlement Class
                                              Dated: January __, 2023

                                              By: Eric R. Fish




                                              ______________________________

                                              Dated: January __, 2023

                                              By:   Seymour Liebman, Executive           Vice
                                                    President, Canon U.S.A., Inc.




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     On Behalf Of Representative Plaintiffs        Counsel    for Canon     U.S.A.,  Inc., Canon
                                                   Solutions America,     Inc., Canon     Software
                                                   America, Inc., Canon Information and Imaging
                                                   Solutions, Inc., Canon Financial Services, Inc.,
                                                   Canon Medical Components U.S.A., Inc.,
                                                   Canon Information Technology Services, Inc.,
                                                   and NT-ware USA, Inc. and Duly Authorized
     Dated: January __, 2023                       Signatory

     By: Gary M. Klinger

     Counsel for Representative Plaintiffs               Vl
     and Interim Class Counsel on Behalf
     of the Settlement Class                       Dated: January, 2023

                                                   By: Eric R. Fish




                                                   Dated: January 95 2023

                                                   By:    Seymour     Liebman,   Executive    Vice
                                                          President, Canon U.S.A., Inc.




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                      EXHIBIT
                      EXHIBIT A
                              A
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  If you were notified on or around November 24, 2020, of
   a Data Incident involving Canon, you may be entitled to
                benefits from a settlement.
            A Federal court has authorized this Notice. This is not a solicitation from a lawyer.
      A settlement has been reached in a class action lawsuit against Canon U.S.A., Inc., Canon
       Solutions America, Inc., Canon Software America, Inc., Canon Information and Imaging
       Solutions, Inc., Canon Financial Services, Inc., Canon Medical Components U.S.A., Inc., Canon
       Information Technology Services, Inc., and NT-ware USA, Inc., (“Canon” or “Defendants”),
       arising out of a Data Incident in which personal information may have been exposed to
       unauthorized activity. The information at issue may have included certain names, Social Security
       Numbers, driver’s license numbers or government-issued identification numbers, financial
       account numbers provided for direct deposit, electronic signatures, and dates of birth (the “PII”).
      You are a “Settlement Class Member” if you were sent the “Notice of Data Security Incident” by
       Canon dated on or around November 24, 2020. By submitting a valid and timely Claim Form,
       you are potentially eligible for certain Settlement Benefits:
       Ordinary Expense Reimbursement: If you have documentation showing that you spent money
       or incurred losses as a result of the Data Incident, you are eligible to receive up to $300 for certain
       documented out-of-pocket losses incurred between August 4, 2020, and INSERT DATE OF
       SETTLEMENT AGREEMENT.
       Other Extraordinary Expense Reimbursement: You may be eligible to receive up to $7,500 for
       Extraordinary Expenses that occurred more likely than not as a result of the Data Incident if: (a)
       it is an actual, documented, and unreimbursed monetary loss; (b) was caused by the Data Incident;
       (c) occurred during the time period from August 4, 2020, through and including INSERT DATE
       OF SETTLEMENT AGREEMENT; (d) is not an amount already covered by the Ordinary
       Expense Reimbursement; and (e) the claimant made reasonable efforts to avoid, or seek
       reimbursement for the loss, including but not limited to exhaustion of all available credit
       monitoring insurance and identity theft insurance.
       Credit Monitoring and Identity Protection: You are eligible for two (2) years of credit
       monitoring services.

                      This Notice may affect your rights. Please read it carefully.
      These rights and options—and the deadlines to exercise them—are explained in this Notice.
                         Your Legal Rights and Options                             Deadline
      SUBMIT A CLAIM      You will be ineligible to receive any Settlement
                                                                           Month Day, 202X
      FORM                Benefits if you fail to submit a Claim Form.
                          Get no Settlement Benefits.
      EXCLUDE
                          Keep your right to file your own lawsuit against the Month Day, 202X
      YOURSELF
                          Defendants about the legal claims in this case.
                          Tell the Court why you do not like the Settlement.
                          You will still be bound by the Settlement if the
      OBJECT              Court approves it.                                   Month Day, 202X
                          You may still file a Claim Form and/or receive
                          Identity Theft Protection Services.
                          Get no Settlement Benefits. Be bound by the
      DO NOTHING
                          Settlement.
                 Questions? Go to www.xxxxxxxxxxxxx.com or call 1-XXX-XXX-XXXX
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     The Court in charge of this case must still decide whether to approve the Settlement and the
      requested attorneys’ fees and expenses. No Settlement Benefits or payments will be provided
      unless the Court approves the Settlement and it becomes final.




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        1. Why is this Notice being provided?
        2. What is this lawsuit about?
        3. Why is the lawsuit a class action?
        4. Why is there a Settlement?
               Questions? Go to www.xxxxxxxxx.com or call 1-XXX-XXX-XXXX
                                                            2
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        6. Are there exceptions to being included in the Settlement?
        7. What if I am still not sure whether I am part of the Settlement?

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        8. What does the Settlement provide?
        9. Is there additional information available regarding the Settlement Benefits?
        10. What am I giving up to receive Settlement Benefits or stay in the Settlement Class?
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  HOW TO GET BENEFITS FROM THE SETTLEMENT ........................................................ PAGE 6
       12. How do I make a claim for Settlement benefits?
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                                                BASIC INFORMATION

   1. Why is this Notice being provided?

                       Questions? Go to www.xxxxxxxxx.com or call 1-XXX-XXX-XXXX
                                                   3
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  A Federal Court authorized this Notice because you have the right to know about the proposed
  Settlement of this class action lawsuit and about your rights and options before the Court decides
  whether to grant final approval of the Settlement. This Notice explains the lawsuit, the Settlement,
  your legal rights, what benefits are available, who is eligible for the benefits, and how to get them.
  Judge Ann M. Donnelly of the United States District Court for the Eastern District of New York is
  overseeing this class action case. The case is known as In re: Canon U.S.A. Data Breach Litigation,
  Case No. 1:20-cv-06239-AMD-SJB, (the “Litigation”). The person who filed this lawsuit is called
  the “Plaintiff” or “Representative Plaintiff” and the companies they sued, Canon U.S.A., Inc., Canon
  Solutions America, Inc., Canon Software America, Inc., Canon Information and Imaging Solutions,
  Inc., Canon Financial Services, Inc., Canon Medical Components U.S.A., Inc., Canon Information
  Technology Services, Inc., and NT-ware USA, Inc., are collectively referred to in this document as
  “Canon” or the “Defendants.”

   2. What is this lawsuit about?

  2.      This litigation arises from a ransomware attack suffered by Canon on or about August 4, 2020
  (the “Ransomware Attack”). On August 6, 2020, Canon announced the Ransomware Attack to its
  employees. On November 24, 2020, after a preliminary investigation, Canon sent a “Notice of Data
  Breach” to those employees who worked for Canon from 2005-2020, as well as their beneficiaries
  and dependents. Canon’s Notice of Data Breach informed the relevant individuals that their
  information may have been exposed to unauthorized activity and that the information at issue included
  certain PII. No court or other entity has determined that Canon committed any wrongdoing or violated
  any law. By entering the Settlement, Canon is not admitting any wrongdoing or liability.

   3. Why is the lawsuit a class action?

  In a class action, a representative plaintiff or plaintiffs sues on behalf of all people who have similar
  claims. Together all these people are called a Settlement Class or Settlement Class Members. One
  court resolves the issues for all Settlement Class Members, except for those Settlement Class
  Members who timely exclude themselves from the Settlement Class.
  The proposed Representative Plaintiffs in this case are Michael Finnigan, Kenneth Buchbinder, Brian
  McCartney, Tyrone Villacis, Luis Pichardo, Andrew Hamid, Amy Lynn Hamid, Woodrow Moss, and
  Diana Rouse.

   4. Why is there a Settlement?

  Plaintiffs and Canon do not agree about the claims made in this Litigation. The Litigation has not
  gone to trial, and the Court has not decided in favor of any party. Instead, Plaintiffs and Canon have
  agreed to settle the Litigation. Plaintiffs and the attorneys for the Settlement Class (“Interim Class
  Counsel”) believe the Settlement is best for all Settlement Class Members because of the Settlement
  Benefits and the risks and uncertainty associated with continued litigation and the nature of the
  defenses raised by Canon.

                        WHO IS INCLUDED IN THE SETTLEMENT?

   5. How do I know if I am part of the Settlement?

  You are a Settlement Class Member if you were one of the individuals residing in the United States
  whose personal information was or may have been compromised in the Data Incident that is the
                  Questions? Go to www.xxxxxxxxx.com or call 1-XXX-XXX-XXXX
                                                4
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  subject of a Notice of Data Security Incident that Canon sent to Plaintiffs and others in substantially
  the same form on or around November 24, 2020.

   6. Are there exceptions to being included in the Settlement?

  Yes. Excluded from the Settlement Class are: (i) Canon and its officers and directors; (ii) all
  Settlement Class Members who timely and validly request exclusion from the Settlement Class; (iii)
  the Judge assigned to evaluate the fairness of this settlement; and (iv) the attorneys representing the
  Parties in the Litigation.

   7. What if I am still not sure whether I am part of the Settlement?

  If you are still not sure whether you are a Settlement Class Member, you may go to the Settlement
  Website at www.xxxxxxxxxxxx.com or call the Claims Administrator’s toll-free number at
  1-XXX-XXX-XXXX.

         THE SETTLEMENT BENEFITS—WHAT YOU GET IF YOU QUALIFY

   8. What does the Settlement provide?

  If you are a Settlement Class Member and you file a valid and timely Claim Form by [120 days after
  the deadline for the completion of Notice to Settlement Class Members], you may be eligible for the
  following Settlement Benefits:
  For your claim to be valid, you must complete a statement on the Claim Form under penalty of perjury
  that your claim is true and correct to the best of your knowledge and belief. You must reasonably
  attest that the Data Incident caused you to incur any claimed out-of-pocket expenses and charges.
  Failure to provide the above statement and documentation as requested on the Claim Form shall result
  in denial of a claim.


  Ordinary Expense Reimbursement

  All Settlement Class Members who submit a valid claim using the Claim Form are eligible to receive
  reimbursement for documented out-of-pocket losses that were incurred between August 1, 2020, and
  INSERT DATE OF SETTLEMENT AGREEMENT, if plausibly caused by the Data Incident, not to
  exceed $300 per Settlement Class Member, including:
            Cost to obtain credit reports.
            Fees relating to a credit freeze;
            Card replacement fees;
            Late fees;
            Overlimit fees;
            Interest on payday loans taken as a result of the Data Incident;
            Other bank or credit card fees;
            Postage, mileage, and other incidental expenses resulting from lack of access to an existing
             account;
            Costs associated with credit monitoring or identity theft insurance purchased between
             August 1, 2020, and INSERT DATE OF SETTLEMENT AGREEMENT, if purchased
             primarily as a result of the Data Incident (You must provide reasonable documentation
                  Questions? Go to www.xxxxxxxxx.com or call 1-XXX-XXX-XXXX
                                              5
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             and an affirmative statement that it was purchased primarily because of the Data Incident,
             and with proof of purchase); and
            Compensation for attested-to lost time spent monitoring accounts, reversing fraudulent
             charges, or otherwise dealing with the aftermath/cleanup of the Data Incident, at a rate of
             $20 for up to four (4) hours. (You must provide attestation or at least a narrative
             description of the activities performed during the time claimed and their connection to the
             Data Incident to receive this benefit.)

  Extraordinary Expense Reimbursement

  Settlement Class Members who submit a valid claim using the Claim Form are eligible to receive
  extraordinary expense reimbursement of up to $7,500 per Settlement Class Member for monetary
  out-of-pocket losses that occurred more likely than not as a result of the Data Incident if:
            It is an actual, documented, and unreimbursed monetary loss;
            Was caused by the Data Incident;
            Occurred during the time period from August 2020, through and including the date of the
             Settlement Agreement;
            Is not an amount already covered by one or more of the categories in ordinary expense
             reimbursement listed above; and
            You made reasonable efforts to avoid, or seek reimbursement for the loss, including but
             not limited to exhaustion of all available credit monitoring insurance and identity theft
             insurance.

  Credit Monitoring and Identity Protection

  You are eligible to receive two years of credit monitoring services, and these services include three
  bureau credit monitoring and alerts. Settlement Class Members must affirmatively request credit
  monitoring by indicating such request on the Claim Form. Redemption codes will then be sent either
  to an email address provided by you or, if you do not have an email address, mailed to the address
  provided on the claim form.



   9. What am I giving up to receive Settlement Benefits or stay in the Settlement Class?

  Unless you exclude yourself, you are choosing to remain in the Settlement Class. If the Settlement is
  approved and becomes final, all of the Court’s orders will apply to you and legally bind you. You will
  not be able to sue, continue to sue, or be part of any other lawsuit against Canon and Released Parties
  about the legal issues in this Litigation that are released by this Settlement. The specific rights you
  are giving up are called “Released Claims.”

   10. What are the Released Claims?

  The Settlement Agreement in Sections 1.22 and 6 describes the Release, Released Claims, and the
  Released Parties in necessary legal terminology, so please read these sections carefully. The
  Settlement Agreement is available at www.xxxxxxxx.com or in the public court records on file in
  this lawsuit. For questions regarding the Release and what it means, you can also contact one of the
  lawyers listed in Question 15 for free, or you can talk to your own lawyer at your own expense.

                  Questions? Go to www.xxxxxxxxx.com or call 1-XXX-XXX-XXXX
                                              6
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                  HOW TO GET BENEFITS FROM THE SETTLEMENT

   11. How do I make a claim for Settlement Benefits?

  To submit a claim for reimbursement for Ordinary Expense Reimbursement, Other Extraordinary
  Expense Reimbursement, and Credit Monitoring and Identity Protection, you must submit a valid
  Claim Form.
  Settlement Class Members seeking reimbursement under the Settlement must complete and submit a
  Claim Form to the Claims Administrator, postmarked or submitted online on or before
  Month Day, 202X. Claim Forms may be submitted online at www.xxxxxxxx.com, or printed from
  the website and mailed to the Claims Administrator at the address on the form. The quickest way to
  submit a claim is online. Claim Forms are also available by calling 1-xxx-xxx-xxxx or by writing to:
                                      Canon Claims Administrator
                                            PO Box XXXX
                                     Portland, OR XXXXX-XXXX

   12. What happens if my contact information changes after I submit a claim?

  If you change your mailing address or email address after you submit a Claim Form, it is your
  responsibility to inform the Claims Administrator of your updated information. You may notify the
  Claims Administrator of any changes by calling 1-XXX-XXX-XXXX or by writing to:
                                     Canon Claims Administrator
                                          PO Box XXXX
                               [INSERT CITY, STATE] XXXXX-XXXX

   13. When will I receive my Settlement Benefits?

  If you make a valid Claim, payment will be provided by the Claims Administrator after the Settlement
  is approved by the Court and becomes final.
  It may take time for the Settlement to be approved and become final. Please be patient and check
  www.xxxxxxxxxxxx.com for updates.
                           THE LAWYERS REPRESENTING YOU
   14. Do I have a lawyer in this case?

  Yes, the Court has appointed John Yanchunis of Morgan & Morgan and Gary M. Klinger of Milberg
  Coleman Bryson Phillips Grossman, LLC as Interim Class Counsel to represent you and the Settlement
  Class for the purposes of this Settlement. You may hire your own lawyer at your own cost and expense
  if you want someone other than Interim Class Counsel to represent you in this Litigation.

   15. How will Interim Class Counsel be paid?

  Interim Class Counsel will file a motion asking the Court to award them attorneys’ fees and costs in
  an amount to be determined by the Courtto be paid by Canon. They will also ask the Court to approve
  a service award of $1,000 to each of the Representative Plaintiffs for participating in this Litigation
  and for their efforts in achieving the Settlement. If awarded by the Court, Canon will pay reasonable

                  Questions? Go to www.xxxxxxxxx.com or call 1-XXX-XXX-XXXX
                                              7
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  fees, costs, expenses, and incentive awards directly. The Court may award less than the amounts
  sought by Representative Plaintiffs and Interim Class Counsel.
  Interim Class Counsel’s application for attorneys’ fees, expenses, and service awards will be made
  available on the settlement website at www.xxxxxxxxxx.com before the deadline for you to comment
  or object to the Settlement.
                   EXCLUDING YOURSELF FROM THE SETTLEMENT
  If you are a Settlement Class Member and want to keep any right you may have to sue or continue to
  sue the Defendants on your own based on the claims raised in this Litigation or released by the
  Released Claims, then you must take steps to get out of the Settlement. This is called excluding
  yourself from – or “opting-out” of – the Settlement.

   16. How do I get out of the Settlement?

  To opt out of the Settlement, you must mail written notice of a request for exclusion. The written notice
  must be signed and clearly state that you wish to be excluded from the Settlement Class. You may only
  submit an opt-out request on your own behalf; mass or class opt-outs will not be permitted.
  The exclusion request must be postmarked and sent to the Claims Administrator at the following
  address by Month Day, 202X:
                                   Canon Claims Administrator
                                          Exclusions
                                        PO Box XXXX
                             [INSERT CITY, STATE] XXXXX-XXXX
  You cannot exclude yourself by telephone or by email.

   17. If I exclude myself, can I still get anything from this Settlement?

  No. If you exclude yourself, you are telling the Court you do not want to be part of the Settlement.
  You can only get Settlement Benefits if you stay in the Settlement and submit a valid Claim Form.

   18. If I do not exclude myself, can I sue the Defendants for the same thing later?

  No. Unless you exclude yourself, you give up any right to sue the Defendants and Released Parties
  for the claims this Settlement resolves relating to the Data Incident. You must exclude yourself from
  this Litigation to start or continue with your own lawsuit or be part of any other lawsuit against the
  Defendants or any of the Released Parties. If you have a pending lawsuit, speak to your lawyer in that
  case immediately.
                                OBJECT TO THE SETTLEMENT
   19. How do I tell the Court that I do not like the Settlement?

  If you are a Settlement Class Member, you can tell the Court you do not agree with all or any part of
  the Settlement or the requested attorneys’ fees and expenses. You can also give reasons why you
  think the Court should not approve the Settlement or attorneys’ fees and expenses.
  To object, you must file a timely written notice of your objection so it is received by Month Day,
  202X. Such notice must state:
            Your full name, address, telephone number, and e-mail address (if any);
                  Questions? Go to www.xxxxxxxxx.com or call 1-XXX-XXX-XXXX
                                              8
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            Information identifying you as a Settlement Class Member, including proof that you are a
             member of the Settlement Class;
            A written statement of all grounds for the objection, accompanied by any legal support for
             the objection the objector believes applicable;
            The identity of all counsel representing you, if any;
            A statement whether you and/or your counsel will appear at the Final Fairness Hearing;
             and
            Your signature or the signature of your duly authorized attorney or other duly authorized
             representative (along with documentation setting forth such representation).
  To be timely, written notice of an objection in the appropriate form must be filed with the Clerk of
  the Court for the U.S. District Court for the Eastern District of New York by Month Day, 202X with
  copies sent at the same time to the Claims Administrator and Interim Class Counsel.
  Any Settlement Class Member who fails to comply with the requirements for objecting in Section 5
  of the Settlement Agreement shall waive and forfeit any and all rights he or she may have to appear
  separately and/or to object to the Settlement Agreement and shall be bound by all the terms of the
  Settlement Agreement and by all proceedings, orders and judgments in the Litigation.

   20. What is the difference between objecting and asking to be excluded?

  Objecting is simply telling the Court you do not like something about the Settlement or requested
  attorneys’ fees and expenses. You can object only if you stay in the Settlement Class (that is, do not
  exclude yourself). Requesting exclusion is telling the Court you do not want to be part of the
  Settlement Class or the Settlement. If you exclude yourself, you cannot object to the Settlement.

                              THE FINAL FAIRNESS HEARING

   21. When and where will the Court decide whether to approve the Settlement?

  The Court will hold a Final Fairness Hearing on Month Day, 202X, at X:XX a.m./p.m. before Judge
  Ann M. Donnelly.
  At this hearing, the Court will consider whether the Settlement is fair, reasonable, and adequate and
  decide whether to approve: the Settlement, Interim Class Counsel’s application for attorneys’ fees,
  costs, and expenses, and the incentive awards to Plaintiffs. If there are objections, the Court will
  consider them. The Court may also listen to people who have asked to speak at the hearing.
  Note: The date and time of the Final Fairness Hearing are subject to change. Any change will be
  posted at www.xxxxxxxxxxx.com.

   22. Do I have to attend to the Final Fairness Hearing?

  No. Interim Class Counsel will answer any questions the Court may have. However, you are welcome
  to attend at your own expense. If you send an objection, you do not have to come to Court to speak
  about it. As long as you file or mail your written objection on time, the Court will consider it.




                  Questions? Go to www.xxxxxxxxx.com or call 1-XXX-XXX-XXXX
                                              9
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   23. May I speak at the Final Fairness Hearing?

  Yes, as long as you do not exclude yourself, you can (but do not have to) participate and speak for
  yourself in this Litigation and Settlement. This is called making an appearance. You also can have
  your own lawyer speak for you, but you will have to hire and pay for your own lawyer.
  If you want to appear, or if you want your own lawyer instead of Interim Class Counsel to speak for
  you in this Litigation, you must follow all of the procedures for objecting to the Settlement listed in
  Section 20 above—and specifically include a statement whether you and your counsel will appear at
  the Final Fairness Hearing.
                                       IF YOU DO NOTHING

   24. What happens if I do nothing at all?

  If you are a Settlement Class Member and you do nothing, you will not receive any Settlement
  Benefits. You will give up rights explained in the “Excluding Yourself from the Settlement” section
  of this Notice, including your right to start a lawsuit, continue with a lawsuit, or be part of any other
  lawsuit against Canon or any of the Released Parties about the legal issues in this Litigation that are
  released by the Settlement Agreement relating to the Data Incident.

                               GETTING MORE INFORMATION

   25. How do I get more information?

  This Notice summarizes the proposed Settlement. Complete details are provided in the Settlement
  Agreement. The Settlement Agreement and other related documents are available at
  www.xxxxxxxxx.com, by calling 1-XXX-XXX-XXXX, or by writing to:
                                     Canon Claims Administrator
                                          PO Box XXXX
                               [INSERT CITY, STATE], XXXXX-XXXX

      PLEASE DO NOT TELEPHONE THE COURT OR THE COURT’S CLERK OFFICE
                          REGARDING THIS NOTICE.




                  Questions? Go to www.xxxxxxxxx.com or call 1-XXX-XXX-XXXX
                                             10
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                      EXHIBIT
                      EXHIBIT B
                              B
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    Canon Claims Administrator
   PO Box XXXX
   Portland, OR 97XXX-XXXX




   Notice of Pendency and Proposed       <<MAIL ID>>
        Settlement of Class Action       <<NAME 1>>
   If you received a Notice of Privacy   <<NAME 2>>
       Incident regarding the Data       <<ADDRESS LINE 1>>
                                         <<ADDRESS LINE 2>>
     Incident from Canon U.S.A. on       <<ADDRESS LINE 3>>
     or around November 24, 2020,        <<ADDRESS LINE 4>>
   you may be eligible for a payment     <<ADDRESS LINE 5>>
      from a class action settlement.    <<CITY, STATE ZIP>>
                                         <<COUNTRY>>
-cv-06239-AMD-SJB
    A Settlement has been reachedDocument
                                 in a class action 54-2      Filed 02/02/23
                                                   lawsuit (“Lawsuit”)                 Page
                                                                       about a data incident that 46  of 51
                                                                                                  occurred on orPag
     around August 4, 2020, which potentially left personal information accessible to the public (the “Data Incident”).
     The information at issue may have included certain names, Social Security Numbers, driver’s license numbers
     or government-issued identification numbers, financial account numbers provided for direct deposit, electronic
     signatures, and dates of birth. The Lawsuit alleges that Canon U.S.A., Inc., Canon Solutions America, Inc.,
     Canon Software America, Inc., Canon Information and Imaging Solutions, Inc., Canon Financial Services, Inc.,
     Canon Medical Components U.S.A., Inc., Canon Information Technology Services, Inc., and NT-ware USA,
     Inc., (collectively, “Canon”) were responsible for the Data Incident because they did not take appropriate care to
     protect the personal information. Canon denies the claims and any wrongdoing.
     Canon records show you are likely a member of the Settlement Class. The Settlement will reimburse eligible
     people who submit claims for: (1) unreimbursed, documented out-of-pocket expenses and compensation for lost
     time resulting from the Data Incident, up to a maximum of $300 per person; and (2) unreimbursed, documented
     extraordinary expenses that were caused by the Data Incident, up to a maximum of $7,500 per person. The
     Settlement also includes two years of credit monitoring and identity theft insurance.
     If you are a Settlement Class Member and you want to receive any benefits from the Settlement, you must
     complete and submit a Claim Form along with any required supporting information. Claim Forms can be
     found and completed on this website: www.SettlementURL.com. The deadline to submit a Claim Form
     is Month 00, 2023.
     Settlement Class Members may also request exclusion from the Settlement or object to it. Requests
     for exclusion are due by Month 00, 2023. Settlement Class Members who do not request exclusion can object
     to the Settlement. Objections are due by Month 00, 2023. The Court will hold a Final Settlement Approval
     Hearing on Month 00, 2023 at 00:00 a.m. at the U.S. District Court for the Eastern District of New York
     located at 225 Cadman Plaza E, Brooklyn, NY 11201 to consider whether to approve the settlement. The
     Court will hear objections, determine if the Settlement is fair, consider a service award of up to $1,000 for
     the Representative Plaintiffs, and consider Class Counsel’s request for attorneys’ fees, costs, and expenses. You
     or your own lawyer may ask to appear at the hearing to be heard by the Court, but you do not have to. The
     motion for attorneys’ fees and costs and service awards for the Representative Plaintiffs will be posted on the
     website after it is filed with the Court.
     The Court has appointed the following Counsel as Interim Class Counsel to represent the Settlement Class in
     this Lawsuit: John Yanchunis of Morgan & Morgan and Gary M. Klinger of Milberg Coleman Bryson Phillips
     Grossman, LLC
     This is only a summary. For detailed information visit www.SettlementURL.com or call 1-000-000-0000. You
     may contact the Settlement Administrator at Canon Settlement, c/o Settlement Administrator, PO Box 0000, City,
     State, Zip.
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                      EXHIBIT
                      EXHIBIT C
                              C
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Must be postmarked or                Canon Data Incident Claims Administrator
submitted online NO                                 PO Box 2057 ____
LATER THAN                                   Portland, OR 97208-2057
Month 00, 2023                         www.xxxxxxxxxxxx.com


                          Canon Data Incident Settlement
                                   Claim Form
                   SETTLEMENT BENEFITS - WHAT YOU MAY GET
 If you were sent the “Notice of Data Security Incident” by Canon dated on or around November 24, 2020, arising
 out of a Data Incident in which personal information may have been exposed to unauthorized activity, you are a
 Settlement Class Member and may submit a claim for the Settlement Benefit(s).
 The easiest way to submit a claim is online at www.xxxxxxxxxxxx.com, or you can complete and mail this
 Claim Form to the mailing address above.
 You may submit a claim for one or more of these benefits:
 Ordinary Expense Reimbursement: If you have documentation showing that you spent money or incurred losses
 as a result of the Data Incident, you are eligible to receive up to $300 for certain documented out-of-pocket losses
 incurred between August 4, 2020, and INSERT DATE OF SA.
 Other Extraordinary Expense Reimbursement: You may be eligible to receive up to $7,500 for Extraordinary
 Expenses that occurred more likely than not as a result of the Data Incident if: (a) it is an actual, documented, and
 unreimbursed monetary loss; (b) was caused by the Data Incident; (c) occurred during the time period from
 August 4, 2020, through and including INSERT DATE OF SA; (d) is not an amount already covered by the
 Ordinary Expense Reimbursement; and (e) the claimant made reasonable efforts to avoid, or seek reimbursement
 for the loss, including but not limited to exhaustion of all available credit monitoring insurance and identity theft
 insurance.
 Credit Monitoring and Identity Protection: You are eligible for two (2) years of credit monitoring services.


    Claims must be submitted online or mailed by Month 00, 2023. Use the address at the top of this form
                                       for mailing this Claim Form.
Please note: the Claims Administrator may contact you to request additional documents to process your claim.
       For more information on the Settlement benefits, what documents you need to attach, how the Claims
         Administrator will decide whether to approve your payments, and for complete instructions, visit
                                           www.xxxxxxxxxxxx.com.
          Settlement Benefits will be distributed only after the Settlement is approved by the Court.
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MAIL
 ID
*0000PLACEHOLDER0000*

                                                  Your Information


We will use this information to contact you and process your claim. It will not be used for any other purpose. If any
of the following information changes, you must promptly notify us by mail at PO Box 2057, Portland, OR 97208-
2057.

First Name                                              MI     Last Name


Mailing Address



City                                                                                  State      ZIP Code


Phone Number
             –               –
Email Address


Unique ID (located on the notice mailed to you)




                                   Cash Payment: Reimbursement for Lost Time
If you spent time monitoring accounts, reversing fraudulent charges, or otherwise dealing with the aftermath/cleanup
of the Data Incident, you may be reimbursed for your time at $20 per hour, for up to 4 hours. You must provide a
narrative description of the activities performed during the time claimed and their connection to the Data Incident to
receive this benefit.

                                                        Description of the activities performed during the time
                    Hours lost as a result
                                                          claimed and their connection to the Data Incident
                    of the Data Incident

                         ___ 1 hour
                         ___ 2 hours
                         ___ 3 hours
                         ___ 4 hours




                          Questions? Visit www.xxxxxxxxxxxx.com or call 1-XXX-XXX-XXXX
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MAIL
 ID
*0000PLACEHOLDER0000*



                                             Cash Payment: Reimbursement for
                                         Documented Ordinary Out-of-Pocket Expenses
You can receive reimbursement for up to $300 for documented out-of-pocket expenses incurred as a result of the
Data Incident. You must attach documents to your Claim Form that show what happened and how much you lost or
spent so that you can be repaid. This may include receipts or other documentation. “Self-prepared” documentation
such as handwritten receipts are, by themselves, insufficient to receive reimbursement, but may be considered to add
clarity or support to other submitted documentation.

     Expense Types and                           Approximate            Description of Expense or Money Spent and
   Examples of Documents                          Amount of                         Supporting Documents
                                                 Expense and             (Identify what you are attaching and why it’s
                                                    Date                          related to the Data Incident)
 Bank or Credit Card Fees
 Examples: Bank or credit card       $
 statements with fees, such as
 card reissuance, overdraft and              –          –
 late fees
                                     MM            DD          YYYY


 Unreimbursed Credit                 $
 Monitoring
 Examples: Costs of credit
 reports, credit monitoring or               –          –
 other identity theft insurance
                                     MM       DD            YYYY
 products

 Other Expenses
 Resulting From Lack of              $
 Access to Accounts
 Examples: Costs of postage,
 mileage, interest on payday                 –          –
 loans or other incidental           MM      DD             YYYY
 expenses due to lack of access to
 existing account



                                          Cash Payment: Reimbursement for
                                        Documented Extraordinary Expenses
You can receive reimbursement for up to $7,500 for documented extraordinary expenses incurred as a result of the
Data Incident if: (1) the loss is an actual, documented, and unreimbursed monetary loss; (2) the loss was caused by
the Data Incident; (3) the loss occurred between August 4, 2020 and Month 00, 2023; (4) the loss is not already
covered by one or more categories in ordinary expenses reimbursement listed above; and (5) you made reasonable
efforts to avoid, or seek reimbursement for, the loss, including but not limited to exhausting all available credit
monitoring insurance and identity theft insurance.

     Expense Types and                           Approximate            Description of Expense or Money Spent and
   Examples of Documents                          Amount of                         Supporting Documents
                                                 Expense and             (Identify what you are attaching and why it’s
                                                    Date                          related to the Data Incident)
 Extraordinary Losses
 Related to Identify Theft or        $
 Fraud
 Examples: Professional fees                 –          –
 incurred to address identity
 theft or fraud, such as falsified   MM            DD          YYYY
 tax returns, account fraud,
 and/or medical identity theft
                               Questions? Visit www.xxxxxxxxxxxx.com or call 1-XXX-XXX-XXXX
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MAIL
 ID
*0000PLACEHOLDER0000*



                                How You Would Like to Receive Your Cash Payment
If you made a claim for a cash payment in this Claim Form, you can elect to receive your payment either by check or
as a digital payment (e.g., an ACH direct deposit, prepaid debit card, or gift card using instructions emailed to you).
Checks must be cashed within 60 days of receiving them.
Which do you prefer?
         Check mailed to the address I provided on this Claim

         Digital payment instructions emailed to the email address I provided on this Claim


                                     Credit Monitoring and Identity Protection
You are eligible to receive two (2) years of credit monitoring services. If you wish to receive free Credit Monitoring
Services, please check the box below.

      Credit Monitoring: I want to receive free credit monitoring services for two years.

If you select this option, you will be sent instructions and an activation code after the Settlement is final to your email
address or home address. This benefit can be selected in addition to any other benefit to which the class member may
be entitled on this form
                                                        Signature
I affirm under the laws of the United States that the information supplied in this Claim Form is true and correct to the
best of my knowledge, and any documents I submitted in support of my claim are true and correct copies of original
documentation.
I understand that I may be asked to provide more information by the Claims Administrator before my claim is
complete.


                                                                              Date:          –           –
                                                                                      MM          DD            YYYY
                               Signature




                             Print Name




                          Questions? Visit www.xxxxxxxxxxxx.com or call 1-XXX-XXX-XXXX
